                              Case 18-11398-LSS                     Doc 1          Filed 06/13/18          Page 1 of 27
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  Delaware
 ____________________ District of _________________
                                       (State)
                          18-
 Case number (If known): _________________________         11
                                                   Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          ABT Molecular Imaging, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              2 ___
                                           ___ 7 – ___
                                                    0 ___
                                                       9 ___
                                                          9 ___
                                                             0 ___
                                                                8 ___
                                                                   0 ___
                                                                      0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            3024      Topside Business Park
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                           Louisville                 TN       37777
                                           ______________________________________________               _______________________________________________
                                           City                            State      ZIP Code          City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Blount County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                abt-mi.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor          ABT Molecular Imaging, Inc.
                _______________________________________________________                                               18-
                                                                                               Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         x None of the above


                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3 ___
                                            ___ 3 ___
                                                   9 ___
                                                      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         x Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         x No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           
                                         x No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
                             Case 18-11398-LSS                 Doc 1        Filed 06/13/18            Page 3 of 27

Debtor
               ABT Molecular Imaging, Inc.
              _______________________________________________________                                               18-
                                                                                            Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       x No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       
                                       x After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                       
                                       x 200-999

                                        $0-$50,000                     
                                                                        x $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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         /s/ Justin R. Alberto
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      Fill in this information to identify the case:

                   ABT Molecular Imaging, Inc.
      Debtor name __________________________________________________________________
                                                                                 Delaware
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   18-
                                _________________________
                                                                                     (State)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                          12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and            Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor              (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                                debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated,   total claim amount and deduction for value of
                                                                                    services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if    Deduction for       Unsecured
                                                                                                                          partially          value of            claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff
      Ronald Nutt                           PO Box 029011                           Notes                 Contingent/                                           $1,879,534.20
1
                                            Miami, FL 33102                                               Unliquidated
                                            lynda@cayman-nutt.com


      Intersouth Partners VII, L.P.         Dennis Dougherty
                                                                                    Notes                 Contingent/                                          $1,136,000.00
2                                           102 City Hall Plaza, Suite 200                                Unliquidated
                                            Durham, NC 27701
                                            (919) 493-6640
                                            djd@intersouth.com
                                            Ira Cohen                               Trade
3    Icon Scientific, Inc.                  12613 High Meadow Road
                                                                                                                                                                $30,065.00
                                            North Potomac, MD 20878
                                            (301) 330-4266
                                            icohen@iconsci.com

     Pitts & Lake, P.C.                     Andrew Lake
4                                                                                   Professional Fees                                                           $23,673.50
                                            PO Box 51295
                                            Knoxville, TN 37950
                                            (865) 584-0105
                                            alake@pl-iplaw.com
                                            Celina Lairson                          Professional Fees
5     Resource Accounting                   PO Box 102332
                                                                                                                                                                $11,400.00
                                            Atlanta, GA 30368
                                            (877) 404-8459
                                            Celina.lairson@employbridge.com

     Absolute Standards, Inc.               Jack Criscio                            Trade
6                                           PO Box 5586
                                                                                                                                                                $11,050.00
                                            Hamden, CT 06518
                                            (800) 368-1131
                                            jack@absolutestandards.com
                                            Arie Stam                               Trade                                                                       $10,808.80
7     HYPROMA                               Lekdijk 70B, 2957 CC Nieuw-Lekkerland
                                            The Netherlands
                                            31-184-670478
                                            ArieStam@hyproma.nl


      Thermo Electron North America LLC     PO Box 742775                           Trade                                                                       $9,979.19
8                                           Atlanta, GA 30374
                                            (800) 532-4750
                                            cmd.fssc.collections@thermofisher.com




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                          page 1
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    Debtor       ABT Molecular Imaging, Inc.
                 _______________________________________________________                                                    18-
                                                                                                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete          Name, telephone number, and      Nature of the claim      Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional             unliquidated,   total claim amount and deduction for value of
                                                                             services, and            or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff

9     ABX                                  Anne Genz Rebecca Siegert             Trade                                                                      $8,457.00
                                           Heinrich-Glaeser-Strasse 10-14
                                           D-01454 Radeberg, Germany
                                           49-352-8404160
                                           genz@abx.de
                                           Dept CH 19307                         Professional Fees
10    BSI Group America, Inc.              Palatine, IL 60055                                                                                               $6,325.00
                                           (703) 437-9000
                                           billing.msamericas@bsigroup.com

                                           Rhett Molitor                         Trade
11    Scientific Commodities, Inc.         2800 Sweetwater Ave, Suite A105                                                                                  $6,228.00
                                           PO Box 2458
                                           Lake Havasu City, AZ 86405
                                           (800) 331-7724
                                           rhett@scicominc.com

      Allied Electronics Inc.              Melissa Canup                         Trade                                                                      $5,937.52
12                                         PO Box 2325
                                           Fort Worth, TX 76113
                                           (817) 595-6469
                                           melissa.canup@alliedelec.com

      AFCO                                 Dept 0809                             Notes                                                                      $5,618.96
13                                         PO Box 120809
                                           Dallas, TX 75312
                                           (800) 288-6901
                                           denver@afco.com

      Carroll Ramsey Associates            950 Gilman Street                     Trade                                                                      $5,385.00
14                                         Berkeley, CA 94710
                                           (510) 559-8153
                                           cra@carroll-ramsey.com
                                           Tammie Sinack                     Trade                                                                          $4,787.60
15    Sorbtech                             5955 Peachtree Cors East
                                           Norcross, GA 30071
                                           (770) 936-0323
                                           tsinack@sobtech.com

      EANM                                 EANM                              Trade                                                                          $3,054.49
16                                         Hollandstrasse 14
                                           Vienna 1020, Austria
                                           s.koebe@eanm.org

                                           PO Box 404705                         Trade                                                                      $2,979.98
17    Fisher Scientific
                                           Atlanta, GA 30384
                                           (800) 766-7000
                                           fs.order@thermofisher.com

      Valco Instruments                    Valco Instruments                     Trade                                                                      $2,712.50
18                                         PO Box 55603
                                           Houston, TX 77255-5603
                                           (800) 367-8424
                                           sales_usa@vici.com

      Agilent Technologies, Inc.           Agilent Technologies, Inc.        Trade                                                                          $2,673.50
19                                         4187 Collections Center DRive
                                           Chicago, IL 60693
                                           (781) 861-7200
                                           mike.wyant@agilent.com
                                           Goodfellow Corporation                Trade                                                                      $2,646.00
20    Goodfellow Corporation               125 Hookstown Grade Road
                                           Coraopolis, PA 15108-9302
                                           (800) 821-2870
                                           matt.o'connor@goodfellowusa.com




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         page 2
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                              ACTION BY WRITTEN CONSENT
                             OF THE BOARD OF DIRECTORS OF
                             ABT MOLECULAR IMAGING, INC.

                                            June 13, 2018

        In accordance with Section 141(f) of the Delaware General Corporation Law, the
undersigned, being the sole member of the Board of Directors (the “Board”) of ABT Molecular
Imaging, Inc., a Delaware corporation (the “Corporation”), hereby takes the following actions
and adopts the following resolutions by written consent (this “Consent”) without a meeting
effective for all purposes as of the date set forth above.

       WHEREAS, the Board has considered (i) the difficulties the Corporation has experienced
in recent years in obtaining the debt and equity financing required to sustain operations,
notwithstanding comprehensive and broad-based efforts to obtain such financing, (ii) the
attempted sale process without any results (iii) the financial and operational aspects of the
Corporation’s business, (iv) the future prospects and financial performance and condition of the
Corporation, (v) current industry, economic and market conditions and trends in the markets in
which the Corporation competes, and (vi) the current status of the Corporation in light of the
foregoing;

       WHEREAS, the Board has received, reviewed and considered the recommendation of
senior management of the Corporation and the advice of the Corporation’s advisors with respect
to the options available to the Corporation, including the possibility of pursuing a bankruptcy
proceeding under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

       NOW, THEREFORE, BE IT RESOLVED, that after consideration of the alternatives
presented to it and the recommendations of senior management of the Corporation and the advice
of the Corporation’s professionals and advisors the Board has determined in its business
judgment that it is desirable and in the best interests of the Corporation and its creditors,
employees, stockholders and other interested parties that a petition be filed in the United States
Bankruptcy Court for the District of Delaware by the Corporation seeking relief under the
provisions of Chapter 11 of the Bankruptcy Code.

        RESOLVED FURTHER, that the Corporation’s duly elected and presently incumbent
Chief Executive Officer and Chief Financial Officer (the “Proper Officers”), together, or
individually, be, and they hereby are, authorized, empowered, and directed, on behalf of the
Corporation and in each of their names (a) to execute, verify and file all documents necessary or
appropriate in connection with the filing of the chapter 11 bankruptcy petition, including,
without limitation, all petitions, affidavits, declarations, schedules, statements of financial affairs,
lists, motions, applications, pleadings and other papers or documents in connection with the
chapter 11 bankruptcy petition; (b) take and perform any and all actions deemed necessary and
proper to obtain such relief as authorized herein and in connection with the Corporation’s
Chapter 11 case (the “Bankruptcy Case”); (c) appear as necessary at all bankruptcy
proceedings on behalf of the Corporation; and (d) pay all such expenses where necessary or
appropriate in order to carry out fully the intent and accomplish the purposes of the resolutions as
adopted herein.


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        RESOLVED FURTHER, that, subject to approval by the Board, the Proper Officers of
the Corporation are authorized and empowered: (a) to obtain post-petition financing and/or use
cash collateral according to terms which may be negotiated by the management of the
Corporation, and to enter into any debtor-in-possession financing facilities, guarantees, or other
related documents; (b) to pledge and grant liens on the assets of the Corporation as may be
contemplated by or required under the terms of such post-petition financing or cash collateral
agreement; and in connection therewith and subject to approval by the Board, the Proper Officers
are hereby authorized and directed to execute appropriate loan agreements, cash collateral
agreements and related ancillary documents, whether consented to or contested by the
Corporation’s existing lenders.

        RESOLVED FURTHER, that the Proper Officers are hereby authorized to make
decisions with respect to all aspects of the management and operation of the Corporation’s
business including, without limitation, organization, human resources, marketing, asset sales,
logistics, finance, administration, oversight, of the prosecution of the Corporation’s Bankruptcy
Case, including, but not limited to, bankruptcy-related reporting requirements, filing of
Statements of Financial Affairs, Schedules of Assets and Liabilities, a chapter 11 plan and
related disclosure statement, claims management, managing outside professionals and such other
aspects as they may identify, in such manner as they deem necessary or appropriate in their
reasonable discretion consistent with the business judgment rule, subject to appropriate approval
and governance by the Board, in accordance with the Corporation’s articles of incorporation and
bylaws, applicable laws and the orders of the bankruptcy court.

        RESOLVED FURTHER that the Proper Officers are hereby authorized to make
decisions with respect to the Corporation’s Bankruptcy Case, including, but not limited to,
pursuing a sale or restructuring of the Corporation’s business, whether that be through entering
into the proposed term sheet with SWK Funding LLC, or otherwise.

        RESOLVED FURTHER, that the previous retention by the Corporation’s management of
the law firm of Bayard, P.A. (“Bayard”) as bankruptcy counsel, subject to any requisite
bankruptcy court approval, to the Corporation to represent and assist the Corporation in
connection with its consideration of various insolvency-related obligations and bankruptcy
alternatives, and to assist the Corporation in carrying out its duties under chapter 11 of the
Bankruptcy Code, and to take any and all actions to advance the Corporation’s rights in
connection therewith, is hereby approved and ratified, and the Proper Officers are hereby
authorized and directed to execute and ratify appropriate retention agreements and to cause to be
filed an appropriate application for authority to retain the services of Bayard.

        RESOLVED FURTHER, that the Proper Officers be, and hereby are, authorized and
directed to employ SSG Capital Advisors (“SSG”) as investment banker, subject to any requisite
bankruptcy court approval, to represent and assist the Corporation in carrying out its duties under
the Bankruptcy Code and in connection with this case; and in connection therewith, the Proper
Officers are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers and cause to be filed an appropriate application for authority to retain the
services of SSG.



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        RESOLVED FURTHER, that the Proper Officers be, and hereby are, authorized and
directed to employ Garden City Group, LLC (“GCG”) as claims and noticing agent, subject to
any requisite bankruptcy court approval, to represent and assist the Corporation in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance the
Corporation’s rights and obligations, including filing any pleadings; and in connection therewith,
the Proper Officers are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and cause to be filed an appropriate application for
authority to retain the services of GCG.

        RESOLVED FURTHER, that the Proper Officers are hereby authorized and empowered
to employ on behalf of the Corporation any other professionals necessary to assist the
Corporation in carrying out its duties under the Bankruptcy Code; and in connection therewith,
the Proper Officers are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to or immediately upon the filing of the Bankruptcy
Case and cause to be filed appropriate applications with the bankruptcy court for authority to
retain the services of any other professional, as necessary, and on such terms as are deemed
necessary, desirable, and proper by the Proper Officers.

       RESOLVED FURTHER, that the Proper Officers are hereby authorized to conduct
business operations as they determine to be in the best interests of the bankruptcy estate of the
Corporation and the creditors of the Corporation, which may include, but not be limited to, a
determination to continue business operations with a view towards reorganizing or selling the
Corporation or substantially all of the assets of the Corporation.

        RESOLVED FURTHER, that, subject to the foregoing resolutions and requisite approval
of the Board, the Proper Officers are authorized and empowered to take on behalf of the
Corporation any and all actions, to execute, deliver, certify, file or record and perform any and
all documents, agreements, instruments, motions, affidavits, applications for approvals or rulings
of governmental or regulatory authorities or certificates and to take any and all actions and steps
deemed by the Proper Officers to be necessary or desirable to carry out the purpose and intent of
each of the foregoing resolutions and to effectuate a successful chapter 11 proceeding including,
without limitation, the opening of new deposit accounts as a debtor-in-possession under the
Bankruptcy Code, and the taking of such actions or execution of such documents shall be
conclusive evidence of the necessity or desirability thereof.

        RESOLVED FURTHER, that any and all actions heretofore taken by the Proper Officers
or the Board in the name and on behalf of the Corporation in furtherance of the purpose and
intent of any or all of the foregoing resolutions are hereby ratified, confirmed, and approved in
all respects.

General Authority and Ratification

        RESOLVED FURTHER, that the Proper Officers be, and hereby are, authorized and
directed, for, in the name and on behalf of the Corporation, to take such steps, to perform all such
acts and things, and to prepare, execute, swear to, acknowledge, certify, deliver, and file and
record with appropriate governmental authorities or other persons any and all agreements,


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documents, applications, reports, notices, waivers, consents, certificates, or instruments which
are contemplated by this Consent or which may be required by law, or appear to any Proper
Officer or legal counsel to the Corporation, to be necessary, convenient, or appropriate to
effectuate and consummate the transactions contemplated by the foregoing resolutions, to
perform any obligations thereunder in accordance therewith, and to otherwise effectuate the
purposes and intents of the foregoing resolutions, such necessity, convenience, or
appropriateness to be conclusively evidenced by the taking or performance of any of the
foregoing steps, acts and things, executions, filings, and/or recordings.

       RESOLVED FURTHER, that any lawful act heretofore taken or caused to be taken by
any Proper Officer in connection with the matters contemplated in the foregoing resolutions be,
and hereby is in all respects approved, adopted, ratified, and confirmed by the Board as an act of
the Corporation.

      RESOLVED FURTHER, that this Consent shall be filed with the minutes of the
Corporation.




                                   [Signature Page Follows]




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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                                                                Chapter 11

ABT MOLECULAR IMAGING, INC.,1                                        Case No. 18-_____ ( _)

                   Debtor.


            CORPORATE OWNERSHIP STATEMENT PURSUANT TO
           FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(A)(1)

         Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following is a

corporation, other than a governmental unit, that directly or indirectly own 10% or more

of any class of the Debtor’s outstanding equity interests.

                                                                               APPROXIMATE
        SHAREHOLDER                                    Class                  PERCENTAGE OF
                                                                               SHARES HELD
    Cyclotron Holdings, LLC
         Attn: Jeff Miller
                                                 Common Stock                         16.98%
      4715 Redwood Road
         Napa, CA 94558
   Intersouth Partners VII , L.P.
     Attn: Dennis Dougherty                      Series A Voting
                                                                                      55.56%
  102 City Hall Plaza, Suite 200                    Preferred
        Durham, NC 27701
   Intersouth Partners VII , L.P.
     Attn: Dennis Dougherty
                                                Series B Preferred                   100.00%
  102 City Hall Plaza, Suite 200
        Durham, NC 27701
   Intersouth Partners VII , L.P.
     Attn: Dennis Dougherty
                                                Series C Preferred                    53.40%
  102 City Hall Plaza, Suite 200
        Durham, NC 27701
River Cities Capital Fund IV, L.P.
      Attn: Rik Vandevenne
                                                Series C Preferred                    33.60%
221 East Fourth Street, Suite 2400
   Cincinnati, OH 45202-4151


1
 The last four digits of the Debtor’s federal tax identification number are 0800 and its business address is
3024 Topside Business Park, Louisville, TN 37777.


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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

       In re                                                                Chapter 11

       ABT MOLECULAR IMAGING, INC.,1                                        Case No. 18-_____ ( _)

                          Debtor.


                                LIST OF EQUITY SECURITY HOLDERS

                The above-captioned debtor in this chapter 11 case filed a petition in this Court on

       the date hereof for relief under chapter 11 of title 11 of the United States Code. The

       following is the list of ABT Molecular Imaging, Inc.’s equity security holders, which was

       prepared in accordance with Rule 1007(a) of the Federal Rules of Bankruptcy Procedure.


                                                                   Address of                            Percentage of
               Equity Holder
                                                                  Equity Holder                          Equity Held
                                                       2816 Ashridge Rd
Anzellotti, Atilio                                                                                          0.0189 %
                                                       Knoxville, TN 37931
                                                       927 Spinnaker Road
Bailey, James                                                                                               0.3302 %
                                                       Farragut, TN 37934
                                                       116 30th Ave South
Caroland, Clay                                                                                              0.8705 %
                                                       Nashville, TN 37212
                                                       Attn: Tyler Augusty
Council & Enhanced TN Fund LLC                         30 Burton Hills Boulevard, Suite 576                 1.6587 %
                                                       Nashville, TN 37215
                                                       Attn: Jeff Miller
Cyclotron Holdings, LLC                                4715 Redwood Road                                    2.6416 %
                                                       Napa, CA 94558
                                                       817 Concord Farms Ln
Drevik, Kathleen                                                                                            0.0532 %
                                                       Knoxville, TN 37934
                                                       6988 Harmoney Circle
Dudley, Jeffrey                                                                                              0.027 %
                                                       Talbott, TN 37877
                                                       Anthony Giamis
Giamis, Anthony                                        1231 Harwood Drive                                   0.1424 %
                                                       Green Oaks, IL 60048


       1
        The last four digits of the Debtor’s federal tax identification number are 0800 and its business address is
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                                             Attn: Dennis Dougherty
Intersouth Partners VII                      102 City Hall Plaza, Suite 200         52.2837 %
                                             Durham, NC 27701
                                             Attn: Joe C. Cook III
Limestone Fund, LLC.                         1600 Division Street, Suite 580        1.6587 %
                                             Nashville, TN 37203
                                             1009 Gray Eagle Lane
Nazerias, Michael                                                                   0.0991 %
                                             Knoxville, TN 37932
                                             CBY 2587
Nutt, Lynda                                  PO Box 029011                          5.2832 %
                                             Miami, FL 33102
                                             CBY 2587
Nutt, Ronald                                 PO Box 029011                          20.7582 %
                                             Miami, FL 33102
                                             705 292nd Avenue SE
Olson, Ken                                                                          0.5622 %
                                             Fall City, WA 98025
                                             3759 Big Springs Road
Patton, David                                                                       0.2373 %
                                             Maryville, TN 37801
                                             Attn: Rik Vandevenne
River Cities Capital Fund IV, L.P.           221 East Fourth Street, Suite 2400     11.8424 %
                                             Cincinnati, OH 45202-4151
                                             Attn: Rik Vandevenne
River Cities Capital Fund IV (N.Q.P.) L.P.   221 East Fourth Street, Suite 2400     1.2649 %
                                             Cincinnati, OH 45202-4151
                                             10863 Alvara Point Drive
Solis, Matt                                                                         0.0385 %
                                             Bonita Springs, FL 34135
                                             Wezelstraat 32
Vergruggen, Rudi                             1850 Grimbergen                         0.161 %
                                             Belgium
                                             6510 Ridge Run Dr.
Young, Clifton                                                                      0.0685 %
                                             Knoxville, TN 37921




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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF DELAWARE

In re                                                                Chapter 11

ABT MOLECULAR IMAGING, INC.,1                                        Case No. 18-_____ ( _)

                   Debtor.


               CERTIFICATION OF DEBTOR’S LIST OF CREDITORS

         ABT Molecular Imaging, Inc., the debtor and debtor in possession (the “Debtor”),

hereby certifies under penalty of perjury that the Creditor Matrix submitted herewith,

pursuant to Rule 1007-2 of the Local Rules of Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), formatted in

portable document format, containing the list of creditors of the Debtor, is complete and,

to the best of the Debtor’s knowledge, correct and consistent with the Debtor’s books and

records.

         The information contained in the Creditor Matrix is based on a review of the

Debtor’s books and records. However, the Debtor has not completed a comprehensive

legal and/or factual investigation with regard to possible defenses to any claims of the

potential claimants included in the Creditor Matrix. In addition, certain of the entities

included in the Creditor Matrix may not hold outstanding claims as of the date hereof,

and therefore may not be creditors of the Debtor for purposes of this chapter 11 case.

                                      [Signature Page Follows]




1
 The last four digits of the Debtor’s federal tax identification number are 0800 and its business address is
3024 Topside Business Park, Louisville, TN 37777.



{BAY:03300438v1}
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                                                                                         In re: ABT Molecular Imaging, Inc.
                                                                                                            Creditor Matrix
                                                                                                            (as of 6/13/2018)


                    Name                                  Address 1                                 Address 2                                   Address 3                         Address 4            City    State      Zip
ABSOLUTE STANDARDS, INC.                  ATTN: JACK CRISCIO                      PO BOX 5585                                                                                                 HAMDEN            CT     06518-0585
ABT MOLECULAR IMAGING, INC.               ATTN PETER KINGMA                       3024 TOPSIDE BUSINESS PARK                                                                                  LOUISVILLE        TN     37777
ABTEB                                     ALI TAVAKOLI                            ABZAR TEB ASMAN INC #1, NO.4, AZAM ALLEY      SOUTH SHEIKH BAHSEE             1435916787 TEHRAN IRAN
ABX                                       ATTN: ANNE GENZ REBECCA SIEGERT         HEINRICH - GLAESER - STRASSE 10 - 14          D - 01454 RADEBERG              GERMANY
ACCOUNTEMPS                               ATTN: LINDSEY HENSON                    12400 COLLECTIONS CENTER DRIVE                                                                              CHICAGO           IL     60693
ACCURATE BRAZING CORP                     36 COTE AVE                                                                                                                                         GOFFSTOWN         NH     03045
ADVANTECH CORPORATION                     PO BOX 45895                                                                                                                                        SAN FRANCISCO     CA     94145
AEROTEK                                   3689 COLLECTION CRT DRIVE                                                                                                                           CHICAGO           IL     60693
AFCO                                      DEPT 0809                               PO BOX 120809                                                                                               DALLAS            TX     75312
AFCO                                      4501 COLLEGE BLVD., SUITE 320                                                                                                                       LEAWOOD           KS     66211
AGILE TECHNOLOGIES                        10337 YELLOW PINE LANE                                                                                                                              KNOXVILLE         TN     37932
AGILENT TECHNOLOGIES, INC.                4187 COLLECTIONS CENTER DRIVE                                                                                                                       CHICAGO           IL     60693
AIR & HYDRAULIC EQUIPMENT                 821 EAST 11TH STREET                    PO BOX 3247                                                                                                 CHATTANOOGA       TN     37404
AIR SCIENCE USA                           PO BOX 62296                                                                                                                                        FT. MYERS         FL     33906
ALICAT SCIENTIFIC                         DEPT 730039                             PO BOX 660919                                                                                               DALLAS            TX     75266-0919
ALL AMERICAN PORTABLE AIR                 P.O. BOX 620218                                                                                                                                     OVIEDO            FL     32762
ALLIED ELECTRONICS INC.                   ATTN: MELISSA CANUP                     PO BOX 2325                                                                                                 FORT WORTH        TX     76113
ALLMED FZCO                               EJAZ MIRZA                              ALLMED FZCO AGA KHAN HOSPITAL                 PO BOX 261257                   JAFZA DUBAI UAE
ALLMED SOLUTIONS                          ATTN PRES., MANAGING OR GENERAL AGENT   BUNGALOW A-2/3, KDA                           STADIUM ROAD                    KARACHI, PAKISTAN
ALLTITE                                   1600 EAST MURDOCK                                                                                                                                   WICHITA           KS     67214
AMANDA MERIDIETH                          5117 ALCOVE BLVD                                                                                                                                    GREENBACK         TN     37742
AMERICAN EXPRESS                          P.O. BOX 650448                                                                                                                                     DALLAS            TX     75265-0448
AMERICAN MAGNETICS                        112 FLINT ROAD                          P.O. BOX 2509                                                                                               OAK RIDGE         TN     37831-2509
AMPLIFIER SYSTEMS, INC.                   PO BOX 280370                                                                                                                                       NORTHRIDGE        CA     91328-0370
ANALYTICAL SALES AND PRODUCTS             179 US ROUTE 206                                                                                                                                    FLANDERS          NJ     07836
ANDREW H LAND                             3205 ROLLING HILLS LANE                                                                                                                             KNOXVILLE         TN     37931
ANDREW LAND                               3205 ROLLING HILLS LANE                                                                                                                             KNOXVILLE         TN     37931
ANTHONY GIAMIS                            1231 HARWOOD DRIVE                                                                                                                                  GREEN OAKS         IL    60048
APPLIED SEPARATIONS, INC.                 930HAMILTON STREET                                                                                                                                  ALLENTOWN         PA     18101
ARCH INSURANCE COMPANY                    2345 GRAND BLVD, SUITE 900                                                                                                                          KANSAS CITY       MO     64108
AT&T                                      C/O BANKRUPTCY                          4331 COMMUNICATIONS DR                        FLR 4W                                                        CAROL STREAM       IL    60197-6463
AT&T                                      PO BOX 6463                                                                                                                                         CAROL STREAM       IL    60197-6463
AT&T MOBILITY                             PO BOX 6463                                                                                                                                         CAROL STREAM       IL    60197-6463
ATILIO ANZELLOTTI                         2816 ASHRIDGE RD                                                                                                                                    KNOXVILLE         TN     37931
ATILIO ANZELLOTTI                         2121 BISHOPS BRIDGE ROAD                                                                                                                            KNOXVILLE         TN     37922
AVANCO                                    2730-168 BARCARENA
AXIS FABRICATION & MACHINE CO.            2107 FRANK BIRD BLVD.                                                                                                                               ROCKFORD          TN     37853
B INDUSTRIES                              FORMERLY KNOWN AS D&H                   PO BOX 10633                                                                                                KNOXVILLE         TN     37939
BAL SEAL ENGINEERING, INC.                19650 PAULING                                                                                                                                       FOOTHILL RANCH    CA     92610-2610
BAYARD, P.A                               ATTN GREG FLASSER                       600 N. KING STREET, SUITE 400                                                                               WILMINGTON        DE     19801
BAYARD, P.A                               ATTN DANIEL N. BROGAN                   600 N. KING STREET, SUITE 400                                                                               WILMINGTON        DE     19801
BAYARD, P.A                               ATTN JUSTIN ALBERTO                     600 N. KING STREET, SUITE 400                                                                               WILMINGTON        DE     19801
BAYARD, P.A                               ATTN ERIN FAY                           600 N. KING STREET, SUITE 400                                                                               WILMINGTON        DE     19801
BAYARD, P.A.                              222 DELAWARE AVENUE, SUITE 900          P.O. BOX 25130                                                                                              WILMNGTON         DE     19899
BENEFIT ASSIST - CLAIMS                   P.O. BOX 31823                                                                                                                                      KNOXVILLE         TN     37930
BENEFITSASSIST- INVOICES                  P.O. BOX 31823                                                                                                                                      KNOXVILLE         TN     37930-1823
BENJAMIN J KADRON                         829 SPRING DRIVE                                                                                                                                    KNOXVILLE         TN     37920
BENJAMIN KADRON                           829 SPRING DRIVE                                                                                                                                    KNOXVILLE         TN     37920
BESWICK ENGINEERING CO., INC.             P.O. BOX 118                                                                                                                                        GREENLAND         NH     03840-0118
BIO CHEM FLUIDICS                         85 FULTON STREET                                                                                                                                    BOONTON           NJ     07005
BIODEX MEDICAL SYSTEMS, INC.              PO BOX 36348                                                                                                                                        NEWARK            NJ     36348
BISHOP WISECARVER                         2104 MARTIN WAY                                                                                                                                     PITTSBURG         CA     94565-5027
BLOUNT COUNTY CLERK                       345 COURT STREET                                                                                                                                    MARYVILLE         TN     37804-5906
BLOUNT COUNTY TRUSTEE                     347 COURT STREET                                                                                                                                    MARYVILLE         TN     37804-5906
BOARD OF REGENTS UNIVERSITY OF OKLAHOMA   VIBHUDUTTA AWASTHI, PHD                 P.O. BOX 26901 / COP 129C                                                                                   OKLAHOMA CITY     OK     73126
BOLIVIA - ONCOSERVICES                    MARTIN TICONA - CEO                     AVENUE HERMAN SILES ZUAZO                                                     LA PAZ, BOLIVIA




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                                                                                            In re: ABT Molecular Imaging, Inc.
                                                                                                               Creditor Matrix
                                                                                                               (as of 6/13/2018)


                     Name                                  Address 1                                   Address 2                                    Address 3                             Address 4              City     State      Zip
BSI GROUP AMERICA, INC.                   DEPT CH 19307                                                                                                                                               PALATINE             IL     60055-9307
BTI TARGETRY, LLC.                        1939 EVANS ROAD                                                                                                                                             CARY                 NC     27513
C CARGO                                   AV. EL DORADO #106-39                                                                                                             BOGOTA, COLUMBIA
CAPINTEC                                  7 VREELAND RD                                                                                                                                               FLORHAM PARK         NJ     07932
CAROL HUSKEY                              6920 WASHINGTON PIKE                                                                                                                                        KNOXVILLE            TN     37918
CARRIE BARNER                             1432 LIZ VISTA CT.                                                                                                                                          MARYVILLE            TN     37803
CARRIE BARNER                             3835 E. PARKWAY                                                                                                                                             GATLINBURG           TN     37738
CARROLL RAMSEY ACCOCIATES                 950 GILMAN STREET                                                                                                                                           BERKELEY             CA     94710
CHARLES RIVER                             GPO BOX 27812                                                                                                                                               NEW YORK             NY     10087-7812
CHARTER COMM / SPECTRUM BUSINESS          4145 FALKENBURG RD                                                                                                                                          RIVERVIEW            FL     33578-8652
CHARTER COMMUNICATIONS                    PO BOX 742613                                                                                                                                               CINCINNATI           OH     45274-2613
CHUCK UNDERWOOD                           8322 EAGLE PALM DRIVE                                                                                                                                       RIVERVIEW            FL     33578
CITY OF ALCOA                             PO BOX 9610                                                                                                                                                 ALCOA                TN     37701-9610
CITY OF ALCOA UTILITIES                   PO BOX 9610                                                                                                                                                 ALCOA                TN     37701-9610
CLAY CAROLAND                             116 30TH AVE SOUTH                                                                                                                                          NASHVILLE            TN     37212
CLIFF YOUNG                               6510 RIDGE RUN DR.                                                                                                                                          KNOXVILLE            TN     37921
CLIFTON YOUNG                             6510 RIDGE RUN DR.                                                                                                                                          KNOXVILLE            TN     37921
COAST TO COAST                            4277 VALLEY FAIR ST                                                                                                                                         SIMI VALLEY          CA     93063
COMSOL, INC.                              1 NEW ENGLAND EXECUTIVE PARK SUITE 350                                                                                                                      BURLINGTON           MA     01803
COUNCIL & ENHANCED TENNESSEE FUND, LLC.   ATTN: TYLER AUGUSTY                        30 BURTON HILLS BOULEVARD, SUITE 576                                                                             NASHVILLE            TN     37215
CREATIVE ENERGY, INC.                     3206 HANOVER ROAD                                                                                                                                           JOHNSON CITY         TN     37604
CRIS E FINGER                             238 SHENENDOAH DRIVE                                                                                                                                        FRIENDSVILLE         TN     37737
CRIS FINGER                               238 SHENENDOAH DRIVE                                                                                                                                        FRIENDSVILLE         TN     37737
CRYSTAL SPRINGS                           PO BOX 660579                                                                                                                                               DALLAS               TX     75266
CT CORPORATION SYSTEM                     P.O. BOX 4349                                                                                                                                               CAROL STREAM         IL     60197-4349
CYCLOMEDICAL APPLICATIONS GROUP, LLC      130 MABRY HOOD ROAD, SUITE 108                                                                                                                              KNOXVILLE            TN     37922
CYCLOTRON HOLDINGS, LLC.                  ATTN: JEFF MILLER                          4715 REDWOOD ROAD                                                                                                NAPA                 CA     94558
D&D FORRESTER, INC.                       DBA CHEM-DRY OF EAST TN                    2311 CRUMLEY RD STE A                                                                                            GREENBACK            TN     37742
DALE ENGINEERING                          3 ALFRED CIRCLE                                                                                                                                             BEDFORD              MA     01730
DANIEL A HILLESHEIM                       537 MOUNTAIN PASS LANE                                                                                                                                      KNOXVILLE            TN     37923
DANIEL HILLESHEIM                         11304 STONEBRIAR LANE                                                                                                                                       KNOXVILLE            TN     37932
DARRELL MCCROSKEY                         4820 N. WILDWOOD ROAD                                                                                                                                       MARYVILLE            TN     37804
DAVID PATTON                              3759 BIG SPRINGS ROAD                                                                                                                                       MARYVILLE            TN     37801
DBA SOFTWARE, INC.                        ATTN: ACCOUNTING DEPT.                     9111 JOLLYVILLE ROAD SUITE 204                                                                                   AUSTIN               TX     78759
DELAWARE ATTORNEY GENERAL                 ATTN: BANKRUPTCY DEPARTMENT                CARVEL STATE OFFICE BLDG                      820 N FRENCH ST 6TH FL                                             WILMINGTON           DE     19801
DELAWARE DEPT. OF LABOR                   DIVISION OF UNEMPLOYMENT INSURANCE         4425 NORTH MARKET ST                                                                                             WILMINGTON           DE     19802
DELAWARE DIVISION OF REVENUE              BANKRUPTCY SERVICES                        ATTN BANKRUPTCY ADMINISTRATOR                 CARVEL STATE OFFICE BUILDING, 8TH FL                               WILMINGTON           DE     19801
DELAWARE DIVISION OF REVENUE              DEPARTMENT OF TAXATION AND FINANCE         THOMAS COLLINS BUILDING                       540 S. DUPONT HIGHWAY                                              DOVER                DE     19901
DELAWARE SECRETARY OF STATE               DIVISION OF CORPORATIONS                   PO BOX 5509                                                                                                      BINGHAMTON           NY     13902-5509
DELTA DENTAL OF TENNESSEE                 P.O. BOX 305172                            DEPT. 35                                                                                                         NASHVILLE            TN     37230-5172
DENIS SWICEGOOD                           242 LITTLEBROOK CIRCLE                                                                                                                                      ROCKFORD             TN     37853
DENNIS DOUGHERTY                          INTERSOUTH CAPITAL PARTNERS                102 CITY HALL PLAZA, SUITE 200                                                                                   DURHAM               NC     27701
DEPARTMENT OF THE TREASURY                INTERNAL REVENUE SERVICE                                                                                                                                    CINCINNATI           OH     45999-0039
DEPARTMENT OF THE TREASURY                INTERNAL REVENUE SERVICE                                                                                                                                    OGDEN                UT     84201-0039
DEPT OF HEALTH AND HUMAN SERVICES         NATIONAL CANCER INSTITUTE                  SBIR DEVELOPMENT CENTER                       ATTN DEEPA NARAYANAN, PROGRAM DIRECTOR   9609 MEDICAL CENTER DR    BETHESDA             MD     20892-9706
DIGI KEY ELECTRONICS                      PO BOX 250                                                                                                                                                  THIEF RIVERS FALL    MN     56701
DONALD P DAVIS                            975 DUDLEY DRIVE                                                                                                                                            SEVIERVILLE          TN     37876
DORAL IMAGING - ASUNCION - LP             ALBERTO GIL DE MONTES                      NUCLEOTRON MIT                                2760 SW 97TH AVE, SUITE B109                                       MIAMI                FL     33165
DORAL IMAGING INTERNATIONAL - FUNDACION   FUNDACION VALLE DEL LILI CARRERA 98 # 18                                                                                          49 CALI COLUMBIA
DOUG FERGUSON                             377 WALNUT VALLEY ROAD                                                                                                                                      CLINTON              TN     37716
DWYER INSTRUMENTS INC                     PO BOX 338                                                                                                                                                  MICHIGAN CITY        IN     46361-0338
EANM                                      HOLLANDSTRASSE 14                                                                                                                 VIENNA 1020 AUSTRIA
EAST TENNESSEE MACHINE                    9210 OAK RIDGE HWY                                                                                                                                          OAK RIDGE            TN     37830
ECKERT & ZIEGLER                          63 SOUTH STREET SUITE 110                                                                                                                                   HOPKINTON            MA     01748
EDWARDS VACUUM, INC.                      88700 EXPEDITE WAY                                                                                                                                          CHICAGO              IL     60695-1700




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                                                                                            In re: ABT Molecular Imaging, Inc.
                                                                                                              Creditor Matrix
                                                                                                              (as of 6/13/2018)


                      Name                              Address 1                                     Address 2                                   Address 3                        Address 4                     City     State      Zip
ELECTROLESS NICKEL PLATING OF LA, INC   44211 STEIN ROAD                                                                                                                                               HAMMOND             LA     70403
EMO TRANS                               2322 GRAND AVENUE                                                                                                                                              BALDWIN             NY     11510
ENVIRONMENTAL PROTECTION AGENCY         OFFICE OF GENERAL COUNSEL                  USEPA WILLIAM JEFFERSON CLINTON BLDG N         MAIL 2310A                         1200 PENNSYLVANIA AVE, NW         WASHINGTON          DC     20004
ENVIRONMENTAL PROTECTION AGENCY         OFC OF ENFORCEMENT & COMPLIANCE ASSURANC   USEPA WILLIAM JEFFERSON CLINTON BLDG N         MAIL 2310A                         1200 PENNSYLVANIA AVE, NW         WASHINGTON          DC     20004
ENVIRONMENTAL PROTECTION AGENCY         ATLANTA FEDERAL CENTER                     61 FORSYTH STREET, SW                                                                                               ATLANTA             GA     30303-3104
ES INDUSTRIES                           701 SOUTH ROUTE 73 SUITE A WESTER                                                                                                                              BERLIN              NJ     08091
ESTES EXPRESS LINES                     PO BOX 25612                                                                                                                                                   RICHMOND            VA     23260-5612
FAB METAL                               PO BOX 12149                                                                                                                                                   KNOXVILLE           TN     37912
FED EX FREIGHT                          DEPT CH                                    PO BOX 10306                                                                                                        PALATINE            IL     60055-0306
FEDEX                                   P.O. BOX 660481                                                                                                                                                DALLAS              TX     75266-0481
FINANCIAL WEST GROUP /TORREYA           PARTNERS, LLC                              4510 E. THOUSAND OAKS BLVD                                                                                          WESTLAKE VILLAGE    CA     91362
FISHER SCIENTIFIC                       P.O. BOX 404705                                                                                                                                                ATLANTA             GA     30384-4705
FLEX PAK PACKAGING PRODUCTS             651 N. RADDANT ROAD                                                                                                                                            BATAVIA             IL     60510
FLORIDA DEPARTMENT OF REVENUE           5050 W TENNESSEE STREET                                                                                                                                        TALLAHASSEE         FL     03239-9110
FLORIDA DEPARTMENT OF REVENUE           5050 W. TENNESSEE STREET                                                                                                                                       TALLAHASSEE         FL     32399
FLORIDA DEPARTMENT OF REVENUE           ATTN GENERAL COUNSEL, MARK HAMILTON        P. O. BOX 6668                                                                                                      TALLAHASSEE         FL     32314-6668
FLORIDA U.C. FUND                       5050 W. TENNESSEE ST.                                                                                                                                          TALLAHASSEE         FL     32399
FOOD AND DRUG ADMINISTRATION            ATTN GENERAL COUNSEL                       10903 NEW HAMPSHIRE AVE                                                                                             SILVER SPRING       MD     20993-0002
FOOD AND DRUG ADMINISTRATION            DIV OF INDUSTRY AND CONSUMER EDUCATION     (DICE)                                         10903 NEW HAMPSHIRE AVE                                              SILVER SPRING       MD     20993-0002
FOXX LIFE SCIENCES LLC                  6 DELAWARE DR                                                                                                                                                  SALEM               NH     03079
FUNDACION VALLE DEL LILI                CARRERA 98 # 18                                                                                                              49 CALI COLUMBIA
GARDEN CITY GROUP, LLC                  1985 MARCUS AVENUE, SUITE 200                                                                                                                                  LAKE SUCCESS        NY     11042
GARDEN CITY GROUP, LLC                  ATTN IRA NIKELSBERG                        1985 MARCUS AVE, STE 200                                                                                            LAKE SUCCESS        NY     11042
GARY HIXSON                             1700 WINDING RIDGE TRAIL                                                                                                                                       KNOXVILLE           TN     37922
GEMS SENSORS INC                        P.O. BOX 96860                                                                                                                                                 CHICAGO             IL     60693
GENTRY, TIPTON, & MCLEMORE, P.C.        P. O. BOX 1990                                                                                                                                                 KNOXVILLE           TN     37901
GEORGIA DEPARTMENT OF LABOR             148 ANDREW YOUNG INT BLVD SUITE 794                                                                                                                            ATLANTA             GA     30303
GEORGIA DEPARTMENT OF LABOR             148 ANDREW YOUNG INTERNATIONAL BLVD NE     SUITE 826                                                                                                           ATLANTA             GA     30303-1751
GEORGIA DEPARTMENT OF REVENUE           1800 CENTURY BOULEVARD, NE                 SUITE 9100                                                                                                          ATLANTA             GA     30345
GEORGIA DEPT. OF REVENUE                PO BOX 105482                                                                                                                                                  ATLANTA             GA     30348
GERMFREE LABORATORIES, INC              4 SUNSHINE BLVD                                                                                                                                                ORMOND BEACH        FL     32174
GLASSMAN HIGH VOLTAGE, INC              124 WEST MAIN STREET                       PO BOX 317                                                                                                          HIGH BRIDGE         NJ     08829
GMI                                     6511 BUNKER LAKE BLVD                                                                                                                                          RAMSEY              MN     55303
GMW ASSOCIATES                          955 INDUSTRIAL ROAD                                                                                                                                            SAN CARLOS          CA     94070
GOODFELLOW CORPORATION                  125 HOOKSTOWN GRADE ROAD                                                                                                                                       CORAOPOLIS          PA     15108-9302
GROW EMERGING COMPANIES                 551 SW POINT AVE                                                                                                                                               DEPOE BAY           OR     97341
HARLEY D FERGUSON III                   377 WALNUT VALLEY RD.                                                                                                                                          CLINTON             TN     37716
HARTFORD CASUALTY INSURANCE CO          ONE HARTFORD PLAZA                                                                                                                                             HARTFORD            CT     06155
HEIDENHAIN                              PO BOX 809231                                                                                                                                                  CHICAGO             IL     60680-9231
HOLLAND & KNIGHT LLP                    ATTN BRIAN SMITH                           200 CRESCENT COURT                             SUITE 1600                                                           DALLAS              TX     75201
HOLLAND & KNIGHT LLP                    ATTN BRENT R MCILWAIN                      200 CRESCENT COURT                             SUITE 1600                                                           DALLAS              TX     75201
HOLSTON GASES-KNOXVILLE                 PO BOX 27248                                                                                                                                                   KNOXVILLE           TN     37927
HUMANA DENTAL INS CO                    P.O. BOX 3233                                                                                                                                                  MILWAUKEE           WI     53201-3233
HYPROMA                                 ATTN: ARIE STAM                            LEKDIJK 70B                                    2957 CC NIEUW-LEKKERLAND           THE NETHERLANDS
ICON SCIENTIFIC, INC.                   ATTN: IRA COHEN                            12613 HIGH MEADOW ROAD                                                                                              NORTH POTOMAC       MD     20878
ICW USA                                 ICW 1487 KINGLSEY DRIVE                                                                                                                                        MEDFORD             OR     97504
IDEAL VACUUM PRODUCTS                   5910 MIDWAY PARK BLVD NE                                                                                                                                       ALBUQUERQUE         NM     87109
IDEX                                    12906 COLLECTIONS CENTER DRIVE                                                                                                                                 CHICAGO              IL    60693
IML MESSE LOGISTIK GMBH                 42110 MARCHFELDER                                                                                                            VOLSBANK 2231 STRASSHOF AUSTRIA
IMS AMCO ENGINEERED PRODUCTS            1 INNOVATION DRIVE                                                                                                                                             DES PLAINES         IL     60016-3161
INDUSTRIAL ELECTRONICS, INC.            ATTN: DUSTIN COMER                         10334 COGDILL RD                                                                                                    KNOXVILLE           TN     37932
INSULFAB                                PO BOX 890503                                                                                                                                                  CHARLOTTE           NC     28289-0503
INTERNAL REVENUE SERVICE                P.O. BOX 806531                                                                                                                                                CINCINNATI          OH     45280-6531
INTERNAL REVENUE SERVICE                CENTRALIZED INSOLVENCY OPERATION           PO BOX 7346                                                                                                         PHILADELPHIA        PA     19101-7346




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                                                                                             In re: ABT Molecular Imaging, Inc.
                                                                                                                Creditor Matrix
                                                                                                                  (as of 6/13/2018)


                      Name                                 Address 1                                     Address 2                                    Address 3                           Address 4                 City    State      Zip
INTERNAL REVENUE SERVICE                   CENTRALIZED INSOLVENCY OPERATION           2970 MARKET ST                                                                                                        PHILADELPHIA     PA     19104
INTERNATIONAL MEDICAL INDUSTRIES, INC.     2981 GATEWAY DRIVE                                                                                                                                               POMPANO BEACH    FL     33069
INTERSOUTH CAPITAL PARTNERS                ATTN: DENNIS DOUGHERTY                     102 CITY HALL PLAZA, SUITE 200                                                                                        DURHAM           NC     27701
INTERSOUTH PARTNERS                        PO BOX 642743                                                                                                                                                    PITTSBURGH       PA     15264-2743
INTERSOUTH PARTNERS                        ATTN DENNIS DOUGHERTY                      102 CITY HALL PLAZA SUITE 200                                                                                         DURHAM           NC     27701
INTERSOUTH PARTNERS VII, L.P.              ATTN: DENNIS DOUGHERTY                     102 CITY HALL PLAZA, SUITE 200                                                                                        DURHAM           NC     27701
INTRALINKS, INC.                           PO BOX 392134                                                                                                                                                    PITTSBURGH       PA     15251-9134
INVESTMENT &INTEGRATION PREMIUM SOLUTION   31, NEWMARKET RD, MOULTON                                                                                                    NEWMARKET CB8 8QP, UNITED KINGDOM
INXPRESS                                   PO BOX 709030                                                                                                                                                    SANDY            UT     84070
JAMES BAILEY                               927 SPINNAKER ROAD                                                                                                                                               FARRAGUT         TN     37934
JAMES D BAILEY                             927 SPINNAKER DRIVE                                                                                                                                              FARRAGUT         TN     37934
JAMES W WATSON JR                          211 N 5TH STREET                                                                                                                                                 MEDFORD          OK     73759
JAMES WATSON                               UPS STORE                                  4 NE 10TH STREET                                                                                                      OKLAHOMA CITY    OK     73104-1402
JEFF DUDLEY                                6988 HARMONEY CIRCLE                                                                                                                                             TALBOTT          TN     37877
JEFF MCNAUGHTON                            7413 STONINGTON LANE                                                                                                                                             KNOXVILLE        TN     37931
JEFFREY A MCNAUGHTON                       7413 STONINGTON LANE                                                                                                                                             KNOXVILLE        TN     37931
JEFFREY DUDLEY                             6988 HARMONY CIR                                                                                                                                                 TALBOTT          TN     37877
JEREMIAH ABNER                             3354 WILSON RD                                                                                                                                                   LENOIR CITY      TN     37772
JINNAH POSTGRADUATE MEDICAL CENTRE         EJAZ MIRZA                                 ALLMED FZCO                                     PO BOX 261257                     JAFZA DUBAI UAE
JOEL GAMBRELL                              1705 OXBOW LANE                                                                                                                                                  KNOXVILLE        TN     37931
JOHN E GREINER                             1618 EMERSON PARK DRIVE                                                                                                                                          KNOXVILLE        TN     37922
JOHN GREINER                               1618 EMERSON PARK DRIVE                                                                                                                                          KNOXVILLE        TN     37922
JOHN PRANGER                               320 LAMBERT LANE                                                                                                                                                 MARYVILLE        TN     37803
JOHN S. JAMES CO.                          PO BOX 2166                                                                                                                                                      SAVANNAH         GA     31402-2166
JOYCE/DAYTON CORP                          PO BOX 1630                                                                                                                                                      DAYTON           OH     45401
KARL KOLB GMBH                             KARL FRAENZEL, MANAGING DIRECTOR           KARL KOLB GMBH IM STEINGRUND 3                                                    63303 DREIEICH GERMANY
KARL KOLB GMBH                             ATTN KARL FRAENZEL, MANAGING DIRECTOR      IM STEINGRUND 3                                                                   63303 DREIEICH – GERMANY
KARL KOLB GMBH & CO. KG                    ATTN PRES., MANAGING OR GENERAL AGENT      PO BOX 301154                                                                     63274 DREIEICH GERMANY
KARL KOLB GMBH & CO. KG                    ATTN PRES., MANAGING OR GENERAL AGENT      IM STEINGRUND 3                                                                   63303 DREIEICH GERMANY
KATHY DREVIK                               817 CONCORD FARMS LN                                                                                                                                             KNOXVILLE        TN     37934
KEN OLSON                                  705 292ND AVENUE SE                                                                                                                                              FALL CITY        WA     98025
KIMBLE CHASE                               LIFE SCIENCES & RESEARCH                   PO BOX 742234                                                                                                         ATLANTA          GA     30374-2234
KING FAHAD MEDICAL CITY                    ATTN PRES., MANAGING OR GENERAL AGENT      PO BOX 59046                                    RIYADH 11525                      RIYADH, KINGDOM OF SAUDI ARABIA
KING FAHAD MEDICAL CITY - LP               ALI ABDULLAH OMAR BALBAID, MB CHB, FRCPC   KING FAHAD MEDICAL CITY                                                           RIYADH, SAUDI ARABIA
KNOXVILLE DATABASE                         5412 SALEM CHURCH ROAD                                                                                                                                           KNOXVILLE        TN     37938
KNOXVILLE DATABASE                         FORMERLY KNOWN AS LITIX                    5412 SALEM CHURCH ROAD                                                                                                KNOXVILLE        TN     37938
KNOXVILLE RUBBER & GASKET COMPANY,. INC    5800 MIDDLEBROOK PIKE                                                                                                                                            KNOXVILLE        TN     37921
KRISTEN R KEY                              710 HIGHLAND DRIVE                                                                                                                                               KNOXVILLE        TN     37912
KURT J. LESKER COMPANY                     P.O. BOX 951677                                                                                                                                                  CLEVELAND        OH     44193
L-COM                                      PO BOX 55758                                                                                                                                                     BOSTON           MA     02205-5758
L. LEE KARRAS                              CHIEF EXECUTIVE OFFICER                    HALO PHARMACEUTICAL                             30 NORTH JEFFERSON ROAD                                               WHIPPANY         NJ     07981
LANDAUER, INC.                             PO BOX 809051                                                                                                                                                    CHICAGO          IL     60680-9051
LATTIMORE BLACK MORGAN & CAIN              5250 VIRGINIA WAY                          P.O. BOX 1869                                                                                                         BRENTWOOD        TN     37024-1869
LENOIR CITY UTILITIES BOARD                P.O. BOX 449                                                                                                                                                     LENOIR CITY      TN     37771
LIMESTONE FUND, LLC.                       ATTN: JOE C. COOK III                      1600 DIVISION STREET, SUITE 580                                                                                       NASHVILLE        TN     37203
LINAC-PET SCAN OPCO LIMITED                53 CHAR. EVAGOROU, 4107 AG. ATHANASIOS                                                                                       LIMASSOL, CYPRUS
LINAC-PET SCAN OPCO LIMITED                DR. ALEXIS VRACHIMIS                       13 KARAISKAKI STREET 3032                                                         LIMMASSOL CYPRUS
LINDA S HELTERBRAND                        5648 NINE MILE ROAD                                                                                                                                              MARYVILLE        TN     37801
LITRON                                     207 BOWLES RD                                                                                                                                                    AGAWAM           MA     01001
LUDLUM MEASUREMENTS, INC.                  P.O. BOX 810                                                                                                                                                     SWEETWATER       TX     79556
LYNDA NUTT                                 CBY 2587                                   PO BOX 029011                                                                                                         MIAMI            FL     33102
LYNN RADCLIFF                              3338 CALDERWOOD HWY.                                                                                                                                             MARYVILLE        TN     37801
LYTRON INC.                                55 DRAGON COURT                                                                                                                                                  WOBURN           MA     01801-1063
MACHINED PRODUCTS CO., INC.                6960 KARNS CROSSING LANE                                                                                                                                         KNOXVILLE        TN     37931
MARGARET HARRIS                            534 GRASSLAND DRIVE MARYVILLE                                                                                                                                    KNOXVILLE        TN     37804




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                                                                                             In re: ABT Molecular Imaging, Inc.
                                                                                                               Creditor Matrix
                                                                                                                (as of 6/13/2018)


                     Name                                     Address 1                                 Address 2                                    Address 3                              Address 4                        City    State      Zip
MARK KHACHATURIAN                          32 SE 2ND AVE, UNIT 211                                                                                                                                                  BOCA RATON        FL     33444
MATTHEW SOLIS                              10863 ALVARA POINT DRIVE                                                                                                                                                 BONITA SPRINGS    FL     34135
MCMASTER-CARR                              P.O. BOX 7690                                                                                                                                                            CHICAGO           IL     60680-7690
MED EQUIP & ENGINEERING SERVICES PTE LTD   ATTN PRES., MANAGING OR GENERAL AGENT      HOSPITAL DA CASA DE SEGUARANCA                DO PRESIDENTE DA REPUBLICA            LUANDA, ANGOLA
MED EQUIP ENGINEERING SERVICE, PT          MIQUEL RAPOSO - INSTITUTO GALENICO         ELOS PARK II - ESCRITORIO 8,                  ESTRADA DE SAO MARCOS                 2735-521 CACEM PORTUGAL
MEDICAL COMPANY UNIX, LLC                  ATTN: ARAM BEKCHYAN, CEO                   52/5 KOSMODAMIANSKAYA EMB.                                                          MOSCOW 115054 RUSSIA
MEDICAL DELIVERY SERVICES                  5313 W. CRENSHAW STREET                                                                                                                                                  TAMPA             FL     33634
MEDICAL TECHNOLOGIES LTD                   89, NUKUS STREET                                                                                                               TASHKENT 100015, REPUBLIC OF UZBEKISTAN

MEDICAL TECHNOLOGIES LTD                   OTABEK KHASANBAEV / GENERAL DIRECTOR       MEDICAL TECHNOLOGIES LTD 89 NUKUS STREET                                            TASHKENT UZBEKISTAN
MEDICAL TECHNOLOGIES LTD.                  ATTN PRES., MANAGING OR GENERAL AGENT      89 NUKUS STREET                                                                     TASHKENT, UZBEKISTAN 100015
MEDIPROMA                                  ATTN RICK MEERKERK, OPERATIONS MANAGER     EDISONWEG 62B (HOOGENDIJK-OOST)                                                     2952 AD ALBLASSERDAM, NETHERLANDS
MEGAN STEPHEN                              3551 OLD MIDWAY ROAD                                                                                                                                                     LENOIR CITY       TN     37772
MICHAEL NAZERIAS                           1009 GRAY EAGLE LANE                                                                                                                                                     KNOXVILLE         TN     37932
MICHAEL TEMPLIN                            253 SOUTH SHOREWOOD                                                                                                                                                      CARYVILLE         TN     37714
MICHAEL TEMPLIN                            253 S SHOREWOOD LN                                                                                                                                                       CARYVILLE         TN     37714
MICROELECTRODES, INC.                      40 HARVEY ROAD                                                                                                                                                           BEDFORD           NH     03110
MISUMI USA, INC                            26797 NETWORK PLACE                                                                                                                                                      CHICAGO           IL     60673-1267
MKS INSTRUMENTS, INC. HPS PRODUCTS         P.O. BOX 3553                                                                                                                                                            BOSTON            MA     02241-3553
                                           TOMISLAV ZANEV / OPERATIONS AND PROJECTS
MOLECULAR SOLUTIONS BULGARIA                                                          135D TSARIGRADSKO SHOSE BLVD                                                        SOFIA, BULGARIA
                                           DIRECTOR
MOLECULAR SOLUTIONS BULGARIA               TSARIGRADSKO SHOSE BLVD. 135D                                                                                                  SOFIA, BULGARIA 1784
MOLECULAR SOLUTIONS BULGARIA EOOD          ATTN PRES., MANAGING OR GENERAL AGENT      135 D TSARIGRADSKO SHOSE BLVD                                                       SOFIA, BULGARIA
MOLECULAR SOLUTIONS BULGARIA LTD           135D TSARIGRADSKO SHOSE BLVD                                                                                                   SOFIA, BULGARIA
MOLLI HARRIS                               534 GRASSLAND DRIVE                                                                                                                                                      MARYVILLE         TN     37804
MOUSER ELECTRONICS                         P.O. BOX 99319                                                                                                                                                           FORT WORTH        TX     76199-0319
MTH TOOL COMPANY                           401 WEST MAIN STREET                                                                                                                                                     PLANO             IL     60545-1436
NATHAN SWISSHELM                           13124 LOVELACE RD                                                                                                                                                        KNOXVILLE         TN     37932
NATIONAL INSTRUMENTS CORPORATION           PO BOX 202262                                                                                                                                                            DALLAS            TX     75320-2262
NATIONAL UNION FIRE INSURANCE COMPANY      PO BOX 35540                                                                                                                                                             NEWARK            NJ     07193-5540
NCI                                        INC 7125 NORTHLAND TERRACE N, STE 100                                                                                                                                    BROOKLYN PARK     MN     55428
NELSON LABS                                29471 NETWORK PLACE                                                                                                                                                      CHICAGO           IL     60673-1294
NETOP TECH, INC.                           220 NW 2ND AVE SUITE 940                                                                                                                                                 PORTLAND          OR     97209
NEWARK ELEMENT14                           33190 COLLECTION CENTER DR                                                                                                                                               CHICAGO           IL     60693
NEWCASTLE UNIVERSITY - LP                  NEWCASTLE UNIVERSITY PO BOX 70613                                                                                              LONDON E10 9DY UK
NEXAIR                                     PO BOX 125                                                                                                                                                               MEMPHIS           TN     38101-0125
NOETIC SPECIALTY INSURANCE COMPANY         14280 PARK MEADOW DR. SUITE 300                                                                                                                                          CHANTILLY         VA     20151
NORGREN KLOEHN, INC.                       DEPT 8415                                                                                                                                                                LOS ANGELES       CA     90084-8415
NUCLEAR MEDICINE DISTRIBUTORS, LLC         10485 NW 37TH STREET                                                                                                                                                     MIAMI             FL     33178
NUCLEOTRON                                 ALBERTO GIL DE MONTES                      NUCLEOTRON MIT                                2760 SW 97TH AVE, SUITE B109                                                    MIAMI             FL     33165
OFFICE OF THE UNITED STATES TRUSTEE        REGION 3                                   844 KING STREET, SUITE 2207                   LOCKBOX 35                                                                      WILMINGTON        DE     19801
OK EMPLOYMENT SECURITY COMMISSION          PO BOX 52004                                                                                                                                                             OKLAHOMA CITY     OK     73152-2004
OKLAHOMA TAX COMMISSION                    PO BOX 26930                                                                                                                                                             OKLAHOMA CITY     OK     73126-0930
OKLAHOMA TAX COMMISSION                    PO BOX 26920                                                                                                                                                             OKLAHOMA CITY     OK     73126
OKLAHOMA TAX COMMISSION                    OFFICE OF THE GENERAL COUNSEL              BANKRUPTCY SECTION                            120 N. ROBINSON, STE. 2000W                                                     OKLAHOMA CITY     OK     73102
OMEGA ENGINEERING, INC.                    26904 NETWORK PLACE                                                                                                                                                      CHICAGO           IL     60673-1269
ONCOSERVICES                               MARTIN TICONA - CEO                        AVENUE HERMAN SILES ZUAZO                                                           LA PAZ, BOLIVIA
OUHSC/COLLEGE OF PHARMACY - LP             ATTN: BONNIE THOMPSON                      P.O. BOX 26901 / COP 129C                                                                                                     OKLAHOMA CITY     OK     73126
OUTERBANKS LIMITED, LLC                    ATTN: PATRICK O'HARA                       P.O. BOX 59                                                                                                                   LOUISVILLE        TN     37777
OUTERBANKS LIMITED, LLC.                   ATTN PRES., MANAGING OR GENERAL AGENT      P.O. BOX 59                                                                                                                   LOUISVILLE        TN     37777
OWEN KANE MOLECULAR IMAGING, INC. - OC     PHILIP JACOBIS - OWNER KANE HOLDINGS       29 BROADWAY SUITE 2500                                                                                                        NEW YORK          NY     10006
PAYAM - CUSTOMER OF NANOFOJAN              ALI TAVAKOLI                               ABZAR TEB ASMAN INC #1, NO.4, AZAM ALLEY      SOUTH SHEIKH BAHSEE                   1435916787 TEHRAN IRAN
PEGASUS INDUSTRIAL SPEC INC                211 SHEARSON CRESCENT                      CAMBRIDGE, ON N1T 1J5                                                               CANADA
PEGASUS TECHNOLOGIES, INC.                 108 PAWNOOK FARM ROAD,                                                                                                                                                   LENOIR CITY       TN     37771
PETER KINGMA                                                                                                                                                                                                        ATLANTA           GA     30319




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                                                                                          In re: ABT Molecular Imaging, Inc.
                                                                                                              Creditor Matrix
                                                                                                              (as of 6/13/2018)


                         Name                                  Address 1                              Address 2                                      Address 3                        Address 4                          City      State      Zip
PETER KINGMA                               4157 OAK FOREST DRIVE NE                                                                                                                                             ATLANTA             GA     30319
PETER KINGMA                               ABT                                     4157 OAK FOREST DRIVE NE                                                                                                     ATLANTA             GA     30319
PETNET SOLUTIONS, INC.                     P.O. BOX 2714                                                                                                                                                        CAROL STREAM        IL     60132-2714
PHENOMENEX                                 PO BOX 749397                                                                                                                                                        LOS ANGELES         CA     90074
PHILIPS MEDICAL                            ROBERT VERNOOJ                          PHILIPS MEXICO COMMERCIAL SA DE CV AV.         LA PALME #6 COL. LA HERRADURA, CP   52784 HUIXQUILUCAN, EDO DE MÉXICO
PHILIPS MEXICO COMMERCIAL S.A. DE C.V.,    ATTN: TEOFILO SAA                       AVENIDA LA PALMA NO. 6                         COLONIA SAN FERNANDO LA HERRADURA   HUIXQUILUCAN, CIUDAD Y ESTADO DE MEXICO
PHILLIPS MEXICO COMMERCIAL SA DE CV        ATTN PRES., MANAGING OR GENERAL AGENT   AV. LA PALME #6 COL. LA HERRADURA              CP 52784                            HUIXQUILUCAN, EDO DE MEXICO
PHILOTECHNICS, LTD.                        201 RENOVARE BLVD                                                                                                                                                    OAK RIDGE           TN     37830
PIEDMONT PLASTICS                          PIEDMONT PLASTICS #010                  P.O. BOX 931291                                                                                                              ATLANTA             GA     31193-1291
PINESTAR TECHNOLOGY, INC                   P.O. BOX 824                                                                                                                                                         GREENVILLE          PA     16125
PITTS & LAKE, P.C.                         ATTN ANDREW LAKE                        P.O. BOX 51295                                                                                                               KNOXVILLE           TN     37950-1295
PLANIO                                     GMBH RUDOLFSTRABE 14                                                                                                       10245 BERLIN, GERMANY
PNEUCLEUS TECHNOLOGIES LLC                 19A CLINTON DRIVE                                                                                                                                                    HOLLIS              NH     03049
PRECISION CALIBRATION SYSTEMS              117 EAST MAIN STREET, SUITE 100                                                                                                                                      MORRISTOWN          TN     37814
PRESERVE AT HARDIN VALLEY APARTMENT        2310 YELLOW BIRCH WAY                                                                                                                                                KNOXVILLE           TN     37931
PRINCIPAL FINANCIAL GROUP                  P.O. BOX 2000                                                                                                                                                        MASON CITY          IA     50402-2000
PROTECTIVE LIFE INSURANCE COMPANY          P.O. BOX 830619                                                                                                                                                      BIRMINGHAM          AL     35283-0619
PROTEUS INDUSTRIES, INC.                   340 PIONEER WAY                                                                                                                                                      MOUNTAIN VIEW       CA     94041
PROTO LABS                                 5540 PIONEER CREEK DRIVE                                                                                                                                             MAPLE PLAIN         MN     55359
PYXL                                       625 SOUTH GAY ST SUITE 310                                                                                                                                           KNOXVILLE           TN     37902
QEI CORPORATION                            ONE AIRPORT DRIVE                       PO BOX 805                                                                                                                   WILLIAMSTOWN        NJ     08094
QUICKBOOKS PAYROLL SERVICE                 2800 E. COMMERCE CENTER PLACE                                                                                                                                        TUCSON              AZ     85706
RESOURCE ACCOUNTING                        ATTN: CELINA LAIRSON                    P.O. BOX 102332                                                                                                              ATLANTA             GA     30368-2332
RESTEK CORPORATION                         PO BOX 4276                                                                                                                                                          LANCASTER           PA     17604
RF PARTS CO                                435 SO. PACIFIC STREET                                                                                                                                               SAN MARCOS          CA     92078
RHINESTAHL AMG                             111 WESTERN ROW ROAD                                                                                                                                                 MASSON              OH     45040
RICHARD F PRESSLEY                         231 SHANGHAI ROAD                                                                                                                                                    LAFOLLETTE          TN     37766
RICK C RIPPIN                              2413 FAWNLAKE TRIAL                                                                                                                                                  ORLANDA             FL     32828
RICK C RIPPIN                              2413 FAWNLAKE TRAIL                                                                                                                                                  ORLANDO             FL     32828
RIK VANDEVENNE                             RIVER CITIES CAPITAL FUNDS              2501 BLUE RIDGE RD, SUITE 220                                                                                                DURHAM              NC     27607
RIVER CITIES CAPITAL FUND IV (N.Q.P.) LP   ATTN: RIK VANDEVENNE                    221 EAST FOURTH STREET, SUITE 2400                                                                                           CINCINNATI          OH     45202-4151
RIVER CITIES CAPITAL FUND IV, L.P.         ATTN ADRIENNE VANNARSDALL               221 EAST FOURTH STREET, SUITE 2400                                                                                           CINCINNATI          OH     45202
RIVER CITIES CAPITAL FUND IV, L.P.         ATTN: RIK VANDEVENNE                    221 EAST FOURTH STREET, SUITE 2400                                                                                           CINCINNATI          OH     45202-4151
RIVER CITIES CAPITAL FUND IV, L.P.         ATTN: RIK VANDEVENNE                    3737 GLENWOOD AVE, STE 100                                                                                                   RALEIGH             NC     27612
RON NUTT                                   CBY 2587                                PO BOX 029011                                                                                                                MIAMI               FL     33102
RONALD NUTT, PH.D.                         CBY 2587                                PO BOX 029011                                                                                                                MIAMI               FL     33102
RONNIE MATHARU                             222 N CENTRAL AVE                       APT 407                                                                                                                      KNOXVILLE           TN     37917
ROTEM INC                                  PO BOX 11515                                                                                                                                                         NEWARK              NJ     07101-4515
ROWE TRANSFER INC.                         ATTN: DAN KAMAN                         5320 SOUTH NATIONAL DRIVE                                                                                                    KNOXVILLE           TN     37914
RUDI VERBRUGGEN                            WEZELSTRAAT 32                                                                                                             1850 GRIMBERGEN BELGIUM
RUSSELL'S PEST CONTROL                     10908 MCBRIDE LANE                                                                                                                                                   KNOXVILLE           TN     37932
SAVENA BG LTD                              66, AMI BUE STR., OFFICE NR. 1          1612 SOFIA                                                                         BULGARIA
SCHOTT                                     PO BOX 13236                                                                                                                                                         NEWARK              NJ     07101-3236
SCIENTIFIC COMMODITIES, INC.               ATTN: RHETT MOLITOR                     2800 SWEETWATER AVE SUITE A105                 PO BOX 2458                                                                   LAKE HAVASU CITY    AZ     86405
SECRETARY OF STATE                         DIVISION OF CORPORATIONS                FRANCHISE TAX                                  P.O. BOX 898                                                                  DOVER               DE     19903
SECRETARY OF STATE                         401 FEDERAL ST                                                                                                                                                       DOVER               DE     19901
SECRETARY OF STATE - STATE OF TENNESSEE    312 ROSA L PARKS AVE 6TH FLOOR                                                                                                                                       NASHVILLE           TN     37243
SECRETARY OF TREASURY                      820 SILVER LAKE BOULEVARD               SUITE 100                                                                                                                    DOVER               DE     19904
SECURITIES EXCHANGE COMMISSION             ATTN SECRETARY OF THE TREASURY          100 F STREET, NE                                                                                                             WASHINGTON          DC     20549
SECURITIES EXCHANGE COMMISSION             NEW YORK REGIONAL OFFICE                ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR       BROOKFIELD PLACE                    200 VESEY STREET, SUITE 400               NEW YORK            NY     10281-1022

SHRED-IT                                   PO BOX 13574                            ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR       BROOKFIELD PLACE                    200 VESEY STREET, SUITE 400               NEW YORK            NY     10087-3574
SILICONES, INC                             PO BOX 363                                                                                                                                                           HIGH POINT          NC     27261
SORBTECH                                   ATTN: TAMMIE SINACK                     5955 PEACHTREE CORS EAST                                                                                                     NORCROSS            GA     30071
SOUTH BLOUNT COUNTY UTILITY DISTRICT       P.O. BOX 4638                                                                                                                                                        MARYVILLE           TN     37802-4638




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                                                                                            In re: ABT Molecular Imaging, Inc.
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                                                                                                                (as of 6/13/2018)


                      Name                                 Address 1                                    Address 2                                    Address 3                             Address 4                    City        State      Zip
SOUTH BLOUNT UTILITIES                    PO BOX 4638                                                                                                                                                           MARYVILLE            TN     37802
SPECIAL CONTINGENCY RISKS INC             P.O. BOX 9491                                                                                                                                                         NEW YORK             NY     10087-9491
SPECIAL CONTINGENCY RISKS, INC            200 LIBERTY ST 7TH FLOOR                                                                                                                                              NEW YORK             NY     10281
SQUARE 1 BANK                             406 BLACKWELL STREET, SUITE 240                                                                                                                                       DURHAM               NC     27701
SQUARE 1 MASTERCARD                       406 BLACKWELL STREET, SUITE 240                                                                                                                                       DURHAM               NC     27701
SSG ADVISORS, LLC                         FIVE TOWER BRIDGE, SUITE 420               300 BARR HARBOR DRIVE                                                                                                      WEST CONSHOHOCKEN    PA     19428
SSG CAPITAL ADVISORS                      ATTN NEIL GUPTA                            FIVE TOWER BRIDGE, SUITE 420                   300 BARR HARBOR DRIVE                                                       WEST CONSHOHOCKEN    PA     19428
SSG CAPITAL ADVISORS                      ATTN J. SCOTT VICTOR                       FIVE TOWER BRIDGE, SUITE 420                   300 BARR HARBOR DRIVE                                                       WEST CONSHOHOCKEN    PA     19428
SSG CAPITAL ADVISORS                      ATTN MICHAEL GUNDERSON                     FIVE TOWER BRIDGE, SUITE 420                   300 BARR HARBOR DRIVE                                                       WEST CONSHOHOCKEN    PA     19428
STAPLES, INC                              PO BOX 405386                              DEPARTMENT ATL                                                                                                             ATLANTA              GA     30384-5386
STATE OF TENNESSEE ATTORNEY GENERAL       ATTN HERBERT H. SLATERY III                425 5TH AVENUE NORTH                                                                                                       NASHVILLE            TN
STATE OF TENNESSEE ATTORNEY GENERAL       ATTN BANKRUPTCY DEPT                       C/O TENNESSEE ATTORNEY GENERAL'S OFFICE        PO BOX 20207                                                                NASHVILLE            TN     37202-0207
STERICYCLE, INC.                          PO BOX 6575                                                                                                                                                           CAROL STREAM         IL     60197-6575
STERIGENICS                               37244 EAGLE WAY                                                                                                                                                       CHICAGO              IL     60678-1372
SUKHBINDER MATHARU                        222 N CENTRAL AVE APT 407                                                                                                                                             KNOXVILLE            TN     37917
SUKHBINDER MATHARU                        228 WEST JACKSON AVENUE                                                                                                                                               KNOXVILLE            TN     37902
SUN LIFE FINANCIAL                        PO BOX 72470381                                                                                                                                                       PHILADELPHIA         PA     19170-0381
SWAGELOK                                  NORTH CAROLINA | EAST TENNESSEE            221 BELTWAY BLVD                                                                                                           MATTHEWS             NC     28104-8807
SWK FUNDING LLC                           15770 DALLAS PARKWAY SUITE 1290                                                                                                                                       DALLS                TX     75248
SWK HOLDINGS CORPORATION                  ATTN WINSTON BLACK                         14755 PRESTON ROAD, SUITE 105                                                                                              DALLAS               TX     75254
TEK CV & F                                PO BOX 1763                                                                                                                                                           ZACHARY              LA     70791
TENNESSEE DEPARTMENT OF LABOR             UI RECOVERY UNIT                           PO BOX 24150                                                                                                               NASHVILLE            TN     37202-4150
TENNESSEE DEPARTMENT OF LABOR             PO BOX 101                                                                                                                                                            NASHVILLE            TN     37202
TENNESSEE DEPARTMENT OF LABOR             AND WORKFORCE DEVELOPMENT                  220 FRENCH LANDING DRIVE                                                                                                   NASHVILLE            TN     37243
TENNESSEE DEPARTMENT OF REVENUE           ANDREW JACKSON STATE OFFICE BLDG           500 DEADERICK STREET                                                                                                       NASHVILLE            TN     37242
TENNESSEE DEPARTMENT OF REVENUE           C/O TENNESSEE ATTORNEY GENERAL'S OFFICE    BANKRUPTCY DIVISION                            P.O. BOX 20207                                                              NASHVILLE            TN     37202-0207
TENNESSEE DEPT OF ENV. & CONSERVATION     WRS TN TOWER 10TH FLOOR                    312 ROSA L. PARK S AVE                                                                                                     NASHVILLE            TN     37243
TENNESSEE SECRETARY OF STATE              ATTN TRE HARGETT, SECRETARY OF STATE       312 ROSA L. PARKS AVE., 6TH FLOOR                                                                                          NASHVILLE            TN     37243
THE UNIVERSITY OF HULL                    ATTN: RICHARD COE                          1ST UNIVERSITY OF HULL 1ST FLOOR               VENN BUILDING, COTTINGHAM ROAD          HULL HU6 &RX UNITED KINGDOM
THERMO ELECTRON NORTH AMERICA LLC         PO BOX 742775                                                                                                                                                         ATLANTA              GA     30374-2775
THERMO SHIELD                             361 GROVE DRIVE                                                                                                                                                       PORTOLA VALLEY       CA     94028
THERMOCOPY OF TENNESSEE                   PO BOX 10665                                                                                                                                                          KNOXVILLE            TN     37939-0665
THOMAS BRUCKBAUER                         8922 S. NORTHSHORE DRIVE                                                                                                                                              KNOXVILLE            TN     37922
THOMAS T BRUCKBAUER                       8922 S. NORTHSHORE DRIVE                                                                                                                                              KNOXVILLE            TN     37922
THOMSEN AND BURKE LLP                     2 HAMILL ROAD SUITE 415                                                                                                                                               BALTIMORE            MD     21210
TIGER FREIGHT, INC.                       1601 NW 93 AVENUE                                                                                                                                                     DORAL                FL     33172
TN DEPT OF ENVIRONMENT & CONSERVATION     DIVISION OF RADIOLOGICAL HEALTH            ATTN DEBRA G. SHULTS, DIRECTOR                 WILLIAM R. SNODGRASS, TENNESSEE TOWER   312 ROSA PARKS AVENUE, 15TH FLOOR   NASHVILLE            TN     37243
TN DEPT OF ENVIRONMENT & CONSERVATION     ATTN PRES., MANAGING OR GENERAL AGENT      DIVISION OF RADIOLOGICAL HEALTH                3RD FLOOR, L&C ANNEX                    401 CHURCH STREET                   LOUISVILLE           TN     37777
TN HEALTH SERVICES & DEVELOPMENT AGENCY   ATTN MELANIE M. HILL, EXECUTIVE DIRECTOR   502 DEADERICK STREET, ANDREW JACKSON BLDG      9TH FLOOR                                                                   NASHVILLE            TN     37243
TOM HATCHER, CLERK                        COURT OF GENERAL SESSIONS                  928 EAST LAMAR ALEXANDER PARKWAY                                                                                           MARYVILLE            TN     37804-6201
TOSINO HOLDINGS LTD                       53 CHAR. EVAGOROU, 4107 AG. ATHANASIOS                                                                                            LIMASSOL, CYPRUS
TOSINO HOLDINGS LTD                       DR. ALEXIS VRACHIMIS                       TOSINO HOLDINGS LTD 13 KARAISKAKI STREET                                               LIMASSOL CRTET, 3032
TOSINO HOLDINGS LTD                       ATTN PRES., MANAGING OR GENERAL AGENT      KARAISKAKI 13                                                                          3032 LIMASSOL CYPRUS
TRANSCAT, INC.                            PO BOX 62827                                                                                                                                                          BALTIMORE            MD     21264-2827
TRANSMEDIC                                TEO KEE MENG, MANAGING DIRECTOR            5 JALAN KILANG BARAT 9TH FLOOR                 PETRO CENTRE                            SINGAPORE 159349
TRANSMEDIC                                ATTN PRES., MANAGING OR GENERAL AGENT      5 JALAN KILANG BARAT 9TH FLOOR                                                         PETRO CENTRE SINGAPORE 159349
TRANSMEDIC - ADVANCED MED TECHNOLOGIES    ATTN: TEO KEE MENG, MANAGING DIRECTOR      5 JALAN KILANG BARAT 9TH FLOOR                 PETRO CENTRE                            SINGAPORE 159349
TRE HARGETT, TN SECRETARY OF STATE        STATE OF TENNESSEE                         312 ROSA L. PARKS AVE., 6TH FLOOR                                                                                          NASHVILLE            TN     37243
TRIMECH SOLUTIONS, LLC                    4461 COX RD, ST 302                                                                                                                                                   GLEN ALLEN           VA     23060
TURNER INDUSTRIAL SUPPLY                  211 ROOSEVELT STREET                                                                                                                                                  MARYVILLE            TN     37801
U.S. DEPARTMENT OF STATE                  COLUMBIA PLAZA                             518 23RD STREET, NW, SA1                                                                                                   WASHINGTON DC        DC     20520
ULINE                                     PO BOX 88741                                                                                                                                                          CHICAGO              IL     60680-1741
UNITED HEALTHCARE                         UHS PREMIUM BILLING                        PO BOX 94017                                                                                                               PALATINE             IL     60094-4017
UNITED STATES ATTORNEY'S OFFICE           NEMOURS BUILDING                           ATTN DAVID C. WEISS                            1007 ORANGE STREET, SUITE 700                                               WILMINGTON           DE     19801




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                                                                                           In re: ABT Molecular Imaging, Inc.
                                                                                                              Creditor Matrix
                                                                                                              (as of 6/13/2018)


                     Name                                 Address 1                                   Address 2                                     Address 3                            Address 4                    City   State      Zip
UNITEDHEALTHCARE SOLLUTIONS LLP          ATTN PRES., MANAGING OR GENERAL AGENT      19 LEYDEN STREET                              E17LE LONDON                            UNITED KINGDOM
UNIV OF NORTH CAROLINA AT CHAPEL HILL    WEILI LIN, PHD                             DISBURSEMENT SERVICES CB# 1220                104 AIRPORT DRIVE                                                          CHAPEL HILL      NC     27599-1220
UNIVERSITY OF HULL - LP                  DR S. J. ARCHIBALD                         ACCOUNTS PAYABLE TEAM 1ST FLOOR               VENN BUILDING COTTINGHAM ROAD           HULL HU6 7RX UNITED KINGDOM
UNIVERSITY OF HULL - LP                  UNIVERSITY OF HULL, COTTINGHAM ROAD                                                                                              HULL, HU67RX, UK
UPS                                      LOCKBOX 577                                                                                                                                                         CAROL STREAM     IL     60132-0577
UPS FREIGHT                              28013 NETWORK PLACE                                                                                                                                                 CHICAGO          IL     60673-1280
UPS-INTERNATIONAL PACKAGE SERVICES       28013 NETWORK PLACE                                                                                                                                                 CHICAGO          IL     60673-1280
US DEPARTMENT OF JUSTICE                 CIVIL DIVISION                             950 PENNSYLVANIA AVE, NW                                                                                                 WASHINGTON       DC     20530-0001
US DEPARTMENT OF JUSTICE                 BANKRUPTCY CLAIMS UNIT                     PO BOX 15012                                                                                                             WILMINGTON       DE     19850
US DEPARTMENT OF STATE                   OFFICE OF AUTHENTICATIONS                  COLUMBIA PLAZA                                518 23RD STREET NW, SA1                                                    WASHINGTON       DC     20520
US LEGALIZATION                          1615 BAY HEAD ROAD                                                                                                                                                  ANNAPOLIS        MD     21409
US PATENT AND TRADEMARK OFFICE           DIRECTOR OF THE USPTO                      ATTN: MAINTENANCE FEES                        2051 JAMIESON AVE STE 300                                                  ALEXANDRIA       VA     22314
US SECURITIES & EXCHANGE COMMISSION      ATTN REGIONAL DIRECTOR                     ATLANTA DISTRICT OFFICE                       SUITE 1000                              3475 LENOX ROAD, NE                ATLANTA          GA     30326-1232
US TREASURY                              1500 PENNSYLVANIA AVE NW                                                                                                                                            WASHINGTON       DC     20220
VACUUM TECHNOLOGY DISTRIBUTION, INC.     1003 ALVIN WEINBERG DRIVE                                                                                                                                           OAK RIDGE        TN     37830
VALCO INSTRUMENTS                        PO BOX 55603                                                                                                                                                        HOUSTON          TX     77255-5603
VAN DER STAHL SCIENTIFIC INC             PO BOX 8307                                                                                                                                                         REDLANDS         CA     92375
VEGA MEDICAL - MSB                       TOMISLAV ZANEV, OPERATIONS & PROJECT DIR   DIMITAR IVANOV / VERTIGO TOWER                BOUL. BULGARIA 109, FL. 2, OFFICE 2.6   SOFIA, 1404, BULGARIA
VEGA MEDICAL - MSB                       TSARIGRADSKO SHOSE BLVD. 135D                                                                                                    SOFIA, BULGARIA 1784
VULCAN MATERIALS                         PO BOX 1152                                                                                                                                                         KENOSHA          WI     53141
VWR                                      PO BOX 640169                                                                                                                                                       PITTSBURGH       PA     15264-0169
WADES FORKLIFT SERVICES, LLC             8651 ASHEVILLE HWY                                                                                                                                                  KNOXVILLE        TN     37924-4108
WARTBURG TOOL & DIE                      ATTN: JUSTIN DAGLEY                        PO BOX 570                                    1738 KNOXVILLE HWY                                                         WARTBURG         TN     37887
WASTE MANAGEMENT OF TENNESSEE            KNOXVILLE                                  PO BOX 9001054                                                                                                           LOUISVILLE       KY     40290-1054
WASTE SERVICES OF TENNESSEE              PO BOX 180600                                                                                                                                                       CHATTANOOGA      TN     37406-1749
WATERS TECHNOLOGIES CORPORATION          DEPT CH 14373                                                                                                                                                       PALATINE         IL     60055-4373
WEST KNOX UTILITY DISTRICT               P.O. BOX 51370                                                                                                                                                      KNOXVILLLE       TN     37950-1370
WILLIS MARINE OF NEW YORK                ONE WORLD FINANCIAL CENTER                 200 LIBERTY ST.                                                                                                          NEW YORK         NY     10281
WILLIS OF NEW YORK, INC.                 PO BOX 30230                                                                                                                                                        NEW YORK         NY     10087-0230
WILLIS OF TENNESSEE INC.                 265 BROOKVIEW CENTRE, SUITE 505                                                                                                                                     KNOXVILLE        TN     37919
WILLIS OF TENNESSEE, INC.                29982 NETWORK PLACE                                                                                                                                                 CHICAGO          IL     60673
WUXI APPTEC, INC                         24681 NETWORK PLACE                                                                                                                                                 CHICAGO          IL     60673-1681
WYRICK ROBBINS YATES & PONT              4101 LAKE BOONE TRAIL                                                                                                                                               RALEIGH          NC     27607
YOUNG CONAWAY STARGATT & TAYLOR, LLP     1000 NORTH KING STREET                                                                                                                                              WILMINGTON       DE     19801
ZEIN MEDICAL SYSTEMS - LP                TIMUR BAIMAGAMBETOV - CEO                  MEDICAL COMPANY SUNCAR 050063                                                         KAZAKHSTAN, ALMATY, AKSAY-4, 117
ZEIN MEDICAL SYSTEMS LLP                 ATTN PRES., MANAGING OR GENERAL AGENT      RAIMBEK AVE. 251 G DONENTAYEVA 30/20                                                  ALMATY, 050034 KAZAKHSTAN
ZEIN MEDICAL SYSTEMS LLP                 ATTN PRES., MANAGING OR GENERAL AGENT      ALMATY, RAIMBEK AVE., 251G, OF. 4/3                                                   REPUBLIC OF KAZAKHSTAN
ZILA                                     ZILA S.R.O KROLMUSOVA 498/21 163 00                                                                                              PRAGUE CZECH REPUBLIC
ZILA, S.R.O., A CZECH REPUBLIC COMPANY   ATTN PRES., MANAGING OR GENERAL AGENT      KROLMUSOVA 21/498 153 00 PRAHA 6                                                      CZECH REPUBLIC
ZILA, S.R.O., CZECH REPUBLIC             ATTN PRES., MANAGING OR GENERAL AGENT      PRAHA 6, KROLMUSOVA 498/21                                                            PSC 163 00
ZINSSER NA, INC                          19145 PARTHENIA STREET SUITE C                                                                                                                                      NORTHRIDGE       CA     91324




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